Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 1 of 105




          EXHIBIT A
                     PART 2 OF 2
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 2 of 105




                                                                           102
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 3 of 105




          The Defendants Bought Data to Cover Their Tracks




GX 2302
                                                                                           103
         Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 4 of 105




The Defendants Bought Data to Cover Their Tracks




                  Q. And which types of data fields did ASL use to
Steve             match a customer's data with ASL's data?
Stolls            A. Typically first and last name and full postal
                  address.                                         Trial Tr. 1293:19-21




                                                                                          104
       Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 5 of 105




The Defendants Bought Data to Cover Their Tracks




                A. In my experience over the last 20-some years, the
Tani            three data companies I've worked for all require an
Ochs            input record that includes a name, street, city, state,
                and zip code.                                   Trial Tr. 947:13-15




                                                                                      105
       Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 6 of 105




The Defendants Bought Data to Cover Their Tracks



                Q. Could Frank augment data from Google Analytics
                users who had never provided a piece of PII to
                Frank?
 Jen            A. No.
Wong
                Q. And why not?
                A. We can't add on more information to people we
                don't know anything about.                                        Trial Tr. 1034:25, 1035:1-5




                                                                                                                106
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 7 of 105




                                                                           107
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 8 of 105




          The Defendants Bought Data to Cover Their Tracks




GX 2310
                                                                                           108
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 9 of 105




            The Defendants Bought Data to Cover Their Tracks




                                            August 1, 2021
       Time (Eastern)         Sender                                      Message
     9:52:09 AM                                  Need to talk about a data pull and
                        Javice
                                                 strategy
     10:06:34 AM                                 Ur gonna need to block off ur day. And
                        Javice
                                                 good news on the offers




GX 801-2
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 10 of 105




            The Defendants Bought Data to Cover Their Tracks




                                            August 3, 2021
       Time (Eastern)          Sender                                     Message
     12:11:45 PM         Javice                  I need the data today




GX 801-9
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 11 of 105




            The Defendants Bought Data to Cover Their Tracks


                                            August 4, 2021
       Time (Eastern)          Sender                                     Message
     7:45:02 PM
                         Javice                  How’s asl data going
     7:45:16 PM
                         Javice                  I need it charged and wrapped tomorrow
     8:16:40 PM                                  Tomorrow should be good.
                         Amar




GX 801-15
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 12 of 105




            The Defendants Bought Data to Cover Their Tracks

                                            August 5, 2021
       Time (Eastern)          Sender                                     Message
     8:38:53 AM
                         Javice                  Can u call and email asl now
     8:38:59 AM
                         Amar                    Yeah
     8:39:02 AM                                  I’m on it
                         Amar
     8:39:08 AM                                  Need that thing ASAP and stress needs to
                         Javice
                                                 charge card today



GX 801-16
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 13 of 105




            The Defendants Bought Data to Cover Their Tracks

                                            August 5, 2021
       Time (Eastern)         Sender                                      Message
                                            August 5, 2021
     11:30:44 AM
                        Javice                 Asl please
       Time (Eastern)       Sender                                        Message
     11:30:48
     11:30:44 AM
              AM        Javice
                        Javice                   It’s
                                                 Asl seriously
                                                      please urgent
     11:30:56
     11:30:48 AM
              AM                                 Already spoke to them
                        Amar
                        Javice                   It’s seriously urgent
     11:30:56 AM                                 Already spoke to them
                         Amar




GX 801-17
               Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 14 of 105




          The Defendants Bought Data to Cover Their Tracks




GX 2308
                                                                                           114
               Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 15 of 105




          The Defendants Bought Data to Cover Their Tracks




GX 2310
                                                                                           115
               Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 16 of 105




          The Defendants Bought Data to Cover Their Tracks




GX 2308
                                                                                           116
               Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 17 of 105




          The Defendants Bought Data to Cover Their Tracks




GX 1140
                                                                                           117
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 18 of 105




                                                                            118
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 19 of 105




            The Defendants Bought Data to Cover Their Tracks

                                            August 5, 2021
       Time (Eastern)         Sender                                      Message

     12:05:33 PM        Amar                     You’ll have 4.5m users today. Just closed it

     12:05:59 PM        Amar                     2.3 cents per user. 105k price

     12:06:06 PM        Javice                   perdfect

     12:06:07 PM        Javice                   love you

     12:06:18 PM        Amar                     :-)

GX 801-18
                                                                                               119
                     Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 20 of 105




              The Defendants Bought Data to Cover Their Tracks




                                         August 5, 2021
            Sender                               Message

           You’ll have
      Amar
           4.5m users today.

GX 801-18
                                                                                                 120
           Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 21 of 105




     Ten Reasons You Know the Defendants Are Guilty




1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together
3. The Defendants’ Lies Were Important to Potential Buyers
4. The Defendants Used Fake Data to Trick the Bank
5. The Defendants Bought Third-Party Data as an Insurance Policy
6. The Lies about Unique IDs


                                                                                       121
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 22 of 105




                     The Lies about Unique IDs




                    Q. And what was Ms. Javice’s reaction to the
                    proposed list that we just looked at?
  Alex
Sweeney             A. She was sort of negotiating on what data points
                    we’d be allowed or that she would provide to
                    validate.
                                                                                      Trial Tr. 1457:16-19
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 23 of 105




                     The Lies about Unique IDs




                    Q. And what was your reaction to that?

  Alex              A. I was surprised because I had thought that we
Sweeney             were already in agreement that the exercise was
                    going to be completed and we were going to provide
                    the data to Acxiom from Frank to validate.
                                                                                      Trial Tr. 1457:20-24
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 24 of 105




                     The Lies about Unique IDs




GX 2203
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 25 of 105




                     The Lies about Unique IDs




GX 2203
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 26 of 105




                     The Lies about Unique IDs




GX 2203
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 27 of 105
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 28 of 105




                     The Lies about Unique IDs




                    A. … If all the most critical detail was just an ID, we
                    would just be validating that an ID existed there and
  Alex
                    we would be completely taking Charlie for her word
Sweeney
                    that all of the data for those customers were mapped
                    back to those IDs in her system.
                                                                                      Trial Tr. 1465:20-24
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 29 of 105




                     The Lies about Unique IDs




  Alex              A. The clearly visible customer information and PII
Sweeney             would be provided to Acxiom to validate.
                                                                                      Trial Tr. 1466:24-25
            Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 30 of 105




                       The Lies about Unique IDs




GX 1754-R
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 31 of 105




                     The Lies about Unique IDs


                  Q. Are any data fields in Frank’s user database hashed or encrypted?
                  A. Yes.
                  Q. Which data fields are hashed or encrypted?
                  A. The sensitive personal information like Social Security number,
Patrick           driver’s license, birth date, I guess.
Vovor             Q. How about e-mail address?
                  A. No.
                  Q. How about home address?GX
                  A. No.
                                                                                      Trial Tr. 1579:16-25
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 32 of 105




                     The Lies about Unique IDs




GX 1568
            Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 33 of 105




      Ten Reasons You Know the Defendants Are Guilty



1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together
3. The Defendants’ Lies Were Important to Potential Buyers
4. The Defendants Used Fake Data to Trick the Bank
5. The Defendants Bought Third-Party Data as an Insurance Policy
6. The Lies about Unique IDs
7. The Defendants Doctored Their Billing Records to Cover Their Tracks


                                                                                        133
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 34 of 105




            The Defendants Doctored Billing Records For Kapelner




GX 1674-A
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 35 of 105




            The Defendants Doctored Billing Records For Kapelner




GX 1675-A
         Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 36 of 105




The Defendants Doctored Billing Records For Exact Data



                  Q. Can you tell us about your discussion with Mr. Amar on the
                     phone after you sent this purchase order to him?
                  A. My recollection of that conversation on the phone is that I
                     had inquired about his time frame for signing the acceptance,
  Tani               and then he also had requested that I modify the invoice to
  Ochs               remove the quantity of names.
                  Q. Did Mr. Amar say anything about why he wanted you to
                     remove the quantity of names or quantity of data from the
                     invoice?
                  A. He did not.                                                     Trial Tr. 934:8-16
                  Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 37 of 105




          The Defendants Doctored Billing Records For Exact Data




GX 1651
                  Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 38 of 105




          The Defendants Doctored Billing Records For Exact Data




GX 1580
                                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 39 of 105




                           T h e D ef e n d a nt s D o ct or e d Billi n g R e c or d s F or A S L




G X 2 3 3 0, G X 2 3 2 8
                                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 40 of 105




                           T h e D ef e n d a nt s D o ct or e d Billi n g R e c or d s F or A S L




G X 2 3 3 0, G X 2 3 2 8
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 41 of 105
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 42 of 105




                    The Defendants Created a Cover Story


                                    August 3, 2021
           Sender                                          Message

                          On with Michael and another
           Javice         and they both said buy it and
                          move quick

GX 801-9
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 43 of 105
           Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 44 of 105




           T h e D ef e n d a nt s Cr e at e d a C o v er St or y




G X 1577
               Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 45 of 105




               The Defendants Created a Cover Story




                                   August 2, 2021
             Time                       From                      To                       Duration

         06:09:45 PM                Javice                   Amar 11 m 13 s


GX 902
            Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 46 of 105




      Ten Reasons You Know the Defendants Are Guilty


1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together
3. The Defendants’ Lies Were Important to Potential Buyers
4. The Defendants Used Fake Data to Trick the Bank
5. The Defendants Bought Third-Party Data as an Insurance Policy
6. The Lies about Unique IDs
7. The Defendants Doctored Their Billing Records to Cover Their Tracks
8. After the Acquisition, the Defendants Continued Lying to JPMorgan

                                                                                        146
           Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 47 of 105




After Acquisition, the Defendants Continued Lying to JPMorgan




                     A. Yeah. So I was at this point just very frustrated
     Ryan            about not having received the customer file, so that's
   MacDonald         where I started. We discussed the customer file and
                     why it was taking so long to get. . . .         Trial Tr. 2387:22-25
           Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 48 of 105




After Acquisition, the Defendants Continued Lying to JPMorgan




                     A. I was specifically asking for the list, and during
                     that discussion was questioning why it was so
     Ryan
                     difficult to provide the list when a list had been
   MacDonald
                     provided previously to Acxiom during the data
                     validation for due diligence.                    Trial Tr. 2571:21-24
           Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 49 of 105




After Acquisition, the Defendants Continued Lying to JPMorgan




                     A. Ms. Javice had said that they were finishing up
     Ryan
                     completion of the file to be able to send to the
   MacDonald
                     marketing team.                                  Trial Tr. 2389:9-10
                    Case 1:23-cr-00251-AKH    Document 383-2   Filed 04/28/25   Page 50 of 105




   After Acquisition, the Defendants Continued Lying to JPMorgan



                                             January 14, 2022
       Time (Eastern)          Sender                                       Message
                                                   U can send mark and Kelly the waterfall
      12:37:36 PM        Javice
                                                   today
      12:37:38 PM        Javice                    Of counts

                                                   I already told them yesterday it was
      12:37:58 PM        Amar
                                                   around 1m



GX 801-46
              Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 51 of 105




   After Acquisition, the Defendants Continued Lying to JPMorgan




GX 1693
              Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 52 of 105




   After Acquisition, the Defendants Continued Lying to JPMorgan




GX 1693
             Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 53 of 105




            Ten Reasons the Defendants Are Guilty

1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together
3. The Defendants’ Lies Were Important to Potential Buyers
4. The Defendants Used Fake Data to Trick the Bank
5. The Defendants Bought Third-Party Data as an Insurance Policy
6. Augmenting Website Visitors Was Not Possible
7. The Defendants Doctored Billing Records and Created a Cover Story
8. After Acquisition, the Defendants Continued Lying to JPMorgan
9. After Acquisition, the Defendants Passed off Purchased Data as Users
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 54 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 1726
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 55 of 105
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 56 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 2310
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 57 of 105
               Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 58 of 105




After Acquisition, the Defendants Passed off Purchased Data as Users




                         Q. . . . Was that your understanding of the data you
     Adam                were going to be receiving from Ms. Javice?
    Kapelner             A. Yes. My understanding was it was Frank's student
                         users.
                                                                                           Trial Tr. 1980:22-24
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 59 of 105
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 60 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 2310
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 61 of 105
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 62 of 105




GX 300, GX 300-T
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 63 of 105




GX 300, GX 300-T
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 64 of 105




GX 300, GX 300-T
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 65 of 105




GX 300, GX 300-T
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 66 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 1726
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 67 of 105




GX 300, GX 300-T
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 68 of 105




GX 300, GX 300-T
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 69 of 105




GX 300, GX 300-T
                           Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 70 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users



                          “Our Users”                                                 “Enriched List”




GX 300 6m:46s, GX 300-T
                     Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 71 of 105




     After Acquisition, the Defendants Passed off Purchased Data as Users




                                          January 14, 2022
       Time (Eastern)          Sender                                      Message
                                                  I already told them yesterday it was
      12:37:58 PM         Amar
                                                  around 1m

GX 1693, GX 801-18
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 72 of 105




GX 300, GX 300-T
                    Case 1:23-cr-00251-AKH    Document 383-2   Filed 04/28/25   Page 73 of 105




   After Acquisition, the Defendants Continued Lying to JPMorgan



                                             January 14, 2022
       Time (Eastern)          Sender                                       Message

      10:15:08 AM        Amar                      Patrick says he never touched the ASL list

      10:15:15 AM        Javice                    i know\

      10:15:16 AM        Amar                      Adam will have to do the ASL list




GX 801-46
                    Case 1:23-cr-00251-AKH    Document 383-2   Filed 04/28/25   Page 74 of 105




   After Acquisition, the Defendants Continued Lying to JPMorgan




                                             January 14, 2022
       Time (Eastern)          Sender                                       Message
                                                  s3://files-for-
      04:30:45 AM        Javice
                                                  growth/CONTACTS_DIRECTMAIL/




GX 801-46
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 75 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 572
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 76 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 2708
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 77 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 2706
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 78 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 2708
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 79 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 2708
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 80 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 1466
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 81 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 1466
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 82 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 1466
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 83 of 105
                Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 84 of 105




    After Acquisition, the Defendants Passed off Purchased Data as Users




GX 2708
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 85 of 105




                   The Defendants’ Own Words




GX 2708
       Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 86 of 105




                The Defendants’ Own Words




2708
            Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 87 of 105




                       The Lies about Unique IDs


                      Q. Now, Ms. Drakeford, going back to your
                      discussions with Ms. Javice, what, if anything, did
                      Ms. Javice say about the relationship between these
                      two sets of files?
 Keona                A. That they were the same people.
Drakeford
                      Q. And what did she mean by that?
                      A. So that the information under Marketing Attributes
                      file matched the personally identifiable information
                      that’s on this Frank 1 through 18 files
                                                                                        Trial Tr. 2668:16-23
            Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 88 of 105




                     The Defendants’ Own Words




GX 801-27
            Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 89 of 105




                     The Defendants’ Own Words




GX 802-59
         Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 90 of 105




                  The Defendants’ Own Words




GX 570
             Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 91 of 105




             Ten Reasons the Defendants Are Guilty
1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together
3. The Defendants’ Lies Were Important to Potential Buyers
4. The Defendants Used Fake Data to Trick the Bank
5. The Defendants Bought Third-Party Data as an Insurance Policy
6. Augmenting Website Visitors Was Not Possible
7. The Defendants Doctored Billing Records and Created a Cover Story
8. After Acquisition, the Defendants Continued Lying to JPMorgan
9. After Acquisition, the Defendants Passed off Purchased Data as Users
10.The Defendants’ Own Words
                   Case 1:23-cr-00251-AKH    Document 383-2   Filed 04/28/25   Page 92 of 105




                                    Defendants’ Words


                                            August 26, 2021

       Time (Eastern)          Sender                                      Message

                                                  I really wouldn't talk about the 5m
    5:10:38 PM          Amar
                                                  anymore

    5:10:47 PM          Javice                    Then reword

    5:11:04 PM          Amar                      that works



GX 801-27
                   Case 1:23-cr-00251-AKH    Document 383-2   Filed 04/28/25   Page 93 of 105




                                    Defendants’ Words

                                            August 26, 2021

       Time (Eastern)          Sender                                      Message

                                                  this doesnt take into accoutn organic and
    5:13:13 PM          Javice
                                                  existing channels

    5:13:17 PM          Amar                      nope


    5:13:19 PM          Javice                    they wont know that

                                                  remember no one on that team has seen the
    5:13:31 PM          Javice
                                                  data room

GX 801-27
                   Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 94 of 105




                                    Defendants’ Words
                                    August 26, 2021
       Time (Eastern)         Sender                                      Message
                                                 Also, Patrick just told me that he came
     2:06:17 PM         Amar                     from a JPM meeting..
                                                 You trusting him to be alone there?
     2:06:44 PM         Javice                   Cool
                                                 Yes, it’s just review of infrastructure /
     2:06:59 PM         Javice
                                                 diagrams
     2:07:05 PM         Amar                     Okay. Cool
                                                 No numbers and to speak to their Cto
     2:07:15 PM         Javice
                                                 every other day
     2:09:50 PM         Amar                     kk
GX 801-26
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 95 of 105




                                                                            195
        Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 96 of 105




          The Charges Against the Defendants


Count                                      Charge

  1      Conspiracy to Commit Wire and Bank Fraud

  2      Wire Fraud

  3      Bank Fraud

  4      Securities Fraud


                                                                                    196
        Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 97 of 105




          The Charges Against the Defendants


Count                                      Charge

  1      Conspiracy to Commit Wire and Bank Fraud

  2      Wire Fraud

  3      Bank Fraud

  4      Securities Fraud


                                                                                    197
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 98 of 105




                    Interstate Wires



                            Emails


                            Phone Calls


                            Zoom Meetings


                            Bank Wires


                                                                            198
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 99 of 105




                                                                            199
                      Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 100 of 105




                  JPMorgan and Capital One are Federally Insured




GX 2023, GX2024
                                                                                                   200
      Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 101 of 105




        The Charges Against the Defendants


Count                                    Charge

  1     Conspiracy to Commit Wire and Bank Fraud

  2     Wire Fraud

  3     Bank Fraud

  4     Securities Fraud


                                                                                   201
      Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 102 of 105




        The Charges Against the Defendants


Count                                    Charge

  1     Conspiracy to Commit Wire and Bank Fraud

  2     Wire Fraud

  3     Bank Fraud

  4     Securities Fraud


                                                                                   202
          Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 103 of 105




            The Charges Against the Defendants




GX 1467
                                                                                       203
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 104 of 105




                              Venue
Case 1:23-cr-00251-AKH   Document 383-2   Filed 04/28/25   Page 105 of 105




                                                                             205
